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      1
                                      IN THE UNITED STATE DISTRICT COURT,
      2
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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      5
          UNITED STATES OF AMERICA,                   )   Case No. CR-08-00224-OWW
      6                                               )
                         Plaintiff,                   )   SECOND AMENDED ORDER
      7          vs.                                  )   EXONERATING BAIL
                                                      )
      8
                                                      )
          BRENT HOLLOWAY, et. al.,
      9                                               )
                    Defendants.                       )
     10                                               )
                                                      )
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                 The Amended Order Exonerating Bail, Doc. 607, filed September 24, 2010, contained the
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          incorrect Deed of Trust Numbers. Accordingly, the following A Second Amended Order is

     16   entered;
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                 Good cause appearing, it is ordered bail in defendant Brent Holloway’s case is hereby
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          exonerated. The Clerk of the Court is ordered to reconvey the real property—Deed of Trust #2008-
     19
          0080841-00 and Deed of Trust #2008-0080842-00—which are posted as security for the bail, and
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     21   to return Brent Holloway’s passport number 058084088 to him forthwith.

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          IT IS SO ORDERED.
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     25   Dated: September 24, 2010                          /s/ OLIVER W. WANGER
                                                             United States District Judge
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